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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SARAH LOPRESTI,                                   Case No. 25-cv-00517-HSG
                                                        Plaintiff,
                                   8
                                                                                           REFERRAL FOR PURPOSE OF
                                                 v.                                        DETERMINING RELATIONSHIP
                                   9

                                  10     SUNRUN INC.,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED, to the

                                  14   Honorable Judge Jon S. Tigar for consideration of whether the case is related to Strickland v.

                                  15   Sunrun, Inc., 23-cv-05034-JST.

                                  16          IT IS SO ORDERED.

                                  17   Dated: 2/28/2025

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                                                                                       HAYWOOD S. GILLIAM, JR.
                                  19                                                   United States District Judge
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